Case 2:12-md-02311-SFC-RSW ECF No. 2060-14 filed 06/18/20   PageID.37982   Page 1
                                    of 18




                         Exhibit 4
Case 2:12-md-02311-SFC-RSW ECF No. 2060-14 filed 06/18/20                                PageID.37983           Page 2
                                    of 18
            1240                    103 FEDERAL REPORTER, 3d SERIES

            failure by defendants to make an adequate        With these· observations, I concur in the re-
            showing of entitlement to summary judg-          versal and remand.
            ment, as to whether USI was a debt collector
            by virtue of the second sentence of 15 U.S.C.
            § 1692a(6), whether USI violated 15 U.S.C.
            § 1692e(3) & (10), whether Durand and
            PLdD violated 15 U.S.C. § 1692j(a). (and are
            hence subject to debt collector liability by
            virtue of section 1692j(b)), and whether USI
            or Durand and PLdD are shielded from lia-
            bility for any such violations by virtue of
                                                             MICHIGAN STATE AFL-CIO, a volun-
            section 1692a(6)(A) or (B) or by 15 U.S.C.
            § 1692k(c).
                                                               tary, unincorporated labor association;
                                                               International Union, United Automobile,
              With respect to the standard for interpret-      Aerospace & Agricultural Implement
            ing the letter quoted in Judge Dennis's opin-      Workers of America (UAW), a volun-
            ion for purposes of sections 1692e(3) & (10)       tary, unincorporated labor association;
            and 1692j(a), I note that the Second Circuit       Metropolitan Detroit AFl.r-CIO; Seafar-
            in Cwmon v. Jackson, 988 F.2d 1314, 1319          ,ers International Union of North Amer-
            (2d Cir.1993), observed that "the least-so-        ica, a voluntary, unincorporated labor
            phisticated consumer standard" had been            association; Franklin D. Garrison; Ed-
            "consistently applied . . . in a manner that       gar A. Scribner, Plaintiffs-Appellees,
            protects debt collectors against liability for
            unreasonable misinterpretations of collection                          ·v.
            notices." As the Seventh Circuit suggested         Candice MILLER, Secretary of State
            in Gammon v. GC Services, Ltd., 27 F.3d              (95-1858), Defendant-Appellant,
            1254, 1257 (7th Cir.1994), this raises the
            question whether "least sophisticated con-                Frank J. Kelley, Attorney
            sumer'' is a misnomer. See also id. at 1259                 General, Defendant,
            (Easterbrook, J., ·concurring). In my view,
            summary judgment here was inappropriate            Michigan Chamber of Commerce (95-
            whether or not we use a "least sophisticated           1397), Proposed Intervenor-
            consumer'' standard, or an "unsophisticated                     Appellant.
            consumer" standard, or a standard similar to                Nos. 95-1397, 95-1858.
            that suggested by Judge Easterbrook's
            thoughtful concurrence in Gammon, a stan-              United States Court of Appeals,
            dard such as that of "a reasonable consumer                     Sixth Circuit.
            with intelligence and experience typical of or
            average for those consumers to whom the                      Argued May 17, 1996.
            communication was directed." I do not un-                    Decided Jan. 7, 1997.
            derstand us to choose between these or like
            formulations. I also do not understand us to
            determine whether section 1692j(a) reaches            Labor unions and union presidents filed
            instances where there is meaningful third        complaint seeking declaratory and injunctive
            party participation in the debt collection ef-   relief with respect. to four provisions of Mich-
            fort, and the form furnished is misleading       igan's Campaign Finance Act. Michigan
            merely as to the degree or character of that     Chamber of Commerce moved to intervene,
            participation. Nor do I understand us tq         but motion was denied. Thereafter, the
            hold that as a matter of law Durand and          United States District Court for the Eastern
            PLdD were not participating in the debt          District of Michigan, Paul B. Borman, J., 891
            collection; only that such participation re-     F .Supp. 1210, granted injunctive relief as to
            mains at least a fact issue on this record.      three of four challenged provisions. Cham-
            Finally, I do not understand us to pass upon     ber of Commerce appealed from order deny-
            plaintiffs entitlement to summary judgment.      ing intervention, and Michigan Secretary of
Case 2:12-md-02311-SFC-RSW ECF No. 2060-14 filed 06/18/20                                      PageID.37984       Page 3
                                    of 18
                                  MICHIGAN STATE AFL-CIO v. MILLER                                      124J
                                           Cite as 103 F.3d 1240 (6th Cir. 1997)
        State appealed from preliminary injunction,            Chamber was vital participant in political
        limited to one provision. The Court of Ap-             process which resulted in adoption of chal-
        peals, Alan E. Norris, Circuit Judge, held             lenged provisions, that it was significant par-
        that: (1) Chamber of Commerce satisfied all            ty adverse to challenging unions, and was an
        elements for intervention as of right, and (2)         entity also regulated by at least three of the
        statute requiring labor unions and corpora-            four statutory provisions challenged by un-
        tions to obtain affirmative consent at least           ions. Fed.Rules Civ.Proc.R.ule 24(a), 28
        once per year from members utilizing auto-             U.S.C.A.; M.C.L.A. §§ 169.252(9), 169.254(1),
        matic payroll deduction to make contribu-              169:255(4, 6).
        tions to a political contribution fund did not
                                                               5. Federal Civil Procedure e:,,315
        violate the First Amendment, under interme-
        diate scrutiny analysis.                                    To satisfy impairment element of inter-
                                                               vention as> of right test, would-be intervenor
              Orders denying intervention reversed;            must show only that impairment of its sub-
         preliminary injunction vacated; remanded.             stantial legal interest is possible if interven-
              Daughtrey, Circuit Judge, filed dissent-         tion is denied; thus, burden is minimal. Fed.
         ing opinion.                                          Rules Civ.Proc.Rule 24(a), 28 U.S.C.A.
                                                               6. Federal Civil Procedure e:,,331
         1. Federal Civil Procedure e:,,314,1                       Michigan Chamber of Commerce dem-
              Elements which must be satisfied before          onstrated impairment of its substantial legal
         intervention as of right will be granted are:         interest if it was denied intervention as of
         timeliness of application to intervene; appli-        right in suit by unions challenging provisions
         cant's substantial legal interest in the case;        of Michigan's Campaign. Finance Act, thus
         impairment of applicant's ability to protect          satisfying intervention element, based on its
         that interest in the absence of intervention;         assertion that adverse ruling in district court
         and inadequate representation of that inter-          would hinder its efforts to litigate validity of
         est by parties already before the court. Fed.         Michigan's system for regulating campaign
         Rules Civ.Proc.Rule 24(a), 28 U.S.C.A.                finance in current ongoing cases and in fu-
                                                               ture challenges; moreover, Chamber might
         2. Federal Courts e:,,776, 817                        lose opportunity to ensure that one or more
              On appeal of district court's denial of          election campaigns in Michigan were con-
         motion to intervene as of right, Court of             ducted under legislatively approved terms
         Appeals reviews district court's determina-           that Chamber believed to be fair and consti-
         tion as to timeliness of motion for abuse of          tutional. Fed.Rules Civ.Proc.Rule 24(a), 28
         discretion,. arid district court's determinations     U.S.C.A.; M.C.L.A. §§ 169.201-169.282.
         concerning remaining elements which must
         be satisfied for such intervention are exam-          7. Federal Civil Procedure e:,,316
         ined de novo. Fed.Rules Civ.Proc.Rule                     Although would-be intervenor as of right
         24(a), 28 U.S.C.A.                                    shoulders burden with respect to establishing
                                                               that its interest is not adequately protected
         3. Federal Civil Procedure e:,,320                    by existing parties to the action, burden is
             Motion to intervene as of right, which            minimal because it is sufficient that movant
         was filed just two weeks . after complaint,           prove that representation may be inadequate,
         when case was obviously in its initial stage,         not that the· representation will in fact be
         was. timely as a matter of law. Fed.Rules             inadequate; thus, it may be enough to show
         Civ.Proc.Rule 24(a), 28 U.S.C.A.                      that the existing party who purports to seek
                                                               the same outcome will not make all of pro-
         4. Federal Civil Procedure e:,,331
                                                               spective intervenor's arguments. Fed.Rules
              Michigan Chamber of Commerce had                 Civ.Proc.Rule 24(a), 28 U.S.C.A.
         substantial legal interest in suit by unions
         contesting sections of Michigan's Campaign            8. Federal Civil Procedure e:,,316
         Finance Act, satisfying requirement for in-               Decision not to appeal by an original
         tervention as of right, considering that              party to the action can constitute inadequate
Case 2:12-md-02311-SFC-RSW ECF No. 2060-14 filed 06/18/20                                   PageID.37985           Page 4
                                    of 18
             1242         103 FEDERAL. REPORTER; 3d SERIES

            representation, for purpose of satisfying in-       irreparable injury in absence of injunction,
            adequate representation element of test for         whether granting injunction will cause sub-
            intervention as of right. Fed.Rules Civ.Proc.       stantial harm to others, and whether issu-
            Rule 24(a), 28 U.S.C.A.                             ance of injunction is in the public interest.
            9. Federal Civil Procedure e:.>331                  14. Injunction e:.>138.1
                 Michigan Chamber of Commerce which                  Not all factors in test for issuance of
            sought to intervene as of right in suit by          preliminary injunction need be fully estab-
            unions challenging provisions of Michigan's         lished for injunction to be proper.
            Campaign Finance Act made sufficient show-
            ing of inadequate representation by the state       15. Injunction e:.>138.18
            of Michigan, satisfying element of interven-              While none of the four factors in test for
            tion test; interest· of state as regulator and of   issuance of preliminary injunction are gener-
            Chamber as target of statute's regulations          ally given controlling weight, preliminary in-
            were divergent, and decision of state not to        junction issued where there is simply no
            seek interlocutory review of preliminary in-        likelihood of success on the merits must be
            junction as it related to two of three tempo-       reversed.
            rarily invalidated provisions also demonstrat-      16. Constitutional Law e:.>90(3)
            ed divergence of interests.     Fed.Rules Civ.
                                                                     Law restricting speech on basis of con-
            Proc.Rule 24(a), 28 U.S.C.A.
                                                                tent is subject to strict scrutiny on First
            10. Federal Courts e:.>817                          Amendment challenge, which requires that
                 So long as motion for permissive inter-        the law be necessary to serve a compelling
            vention is timely and there is at least one         state interest and narrowly tailored to
            common question of law or fact, district            achieve that end. U.S.C.A. Const.Amend. 1.
            court's balancing of undue delay, prejudice to
                                                                17. Constitutional Law e:.>90(3)
            original parties, and any other relevant fac-
            tors is reviewed for abuse of discretion.                 Law neutral with respect to content is
            Fed.Rules Civ.Proc.Rule 24(b), 28 U.S.C.A.          subject to intermediate scrutiny on First
                                                                Amendment challenge, which is satisfied
            11. Federal Civil Procedure e:.>321                 where the law furthers an important govern-
                If Court of Appeals is to review district       mental interest without burdening substan-
            court's exercise of discretion on motion for        tially more speech than necessary. U.S.C.A.
            permissive intervention, district court must,       Const.Amend. 1.
            except where basis for decision is obvious in
                                                                18. Constitutional Law e:.>90.1(1.2)
            light of the record, provide enough of an
            explanation for its decision to enable Court of          Section of Michigan's Campaign Financ-
            Appeals to conduct meaningful review; it is         ing Act requiring corporations and labor un-
            insufficient merely to quote the rule and to        ions to obtain affirmative consent at least
            state the result. Fed.Rules Civ.Proc.Rule           once per year from members making contri-
            24(b), 28 U.S.C.A.                                  butions to political contribution fund by
                                                                means of automatic payroll deduction was
            12. Federal Courts e:.>815                          content neutral, and intermediate scrutiny
                 Court of Appeals reviews grant of pre-         was appropriate standard of review for First
            liminary injunctive relief for abuse of dis-        Amendment       challenge    to    provision.
            cretion, reversing where district court has         U.S.C.A.     Const.Amend.     1;   M.C.L.A.
            committed legal error or relied upon clearly        § 169.255(6).
            erroneous factual findings.
                                                                19. Constitutional Law e:.>90(3)
            13. Injunction e:.>138.1                                 On First Amendment challenge, content-
                 Factors to consider in determining ap-         neutral law will satisfy intermediate scrutiny
            propriateness of preliminary injunction in-         if: it furthers an important or substantial
            clude: whether plaintiffs are likely to succeed     governmental interest; if the governmental
            on the merits, whether plaintiffs will suffer       interest is unrelated to the suppression of
Case 2:12-md-02311-SFC-RSW ECF No. 2060-14 filed 06/18/20                                     PageID.37986       Page 5
                                    of 18
                                 MICHIGAN STATE• AFL-CIO v. MILLER                                     1243
                                          Cite as 103 F.3d 1240 (6th Cir. 1997)
         free expression; and if the incidental restric-        Thomas A. Baird, Okemos, MI, Kathleen
         tion of alleged First Amendment freedoms is          Corkin Boyle,· White, Przybylowicz, Schneid-
         no greater than is essential to the further-         er & Baird, Okemos, MI, for Michigan Edu-
         ance of that interest. U.S.C.A. Const.               cation Association, Amicus Curiae in No. 95-
         Amend. 1; M.C.L.A. § 169.255(6).                     1858.

         20. Constitutional Law e=>90'.1(1.2)                  Before: WELLFORD, NORRIS, and
             Elections e:->311                                DAUGHTREY, Circuit Judges.
               Section of the Michigan Campaign Fi-
                                                                 NORRIS, J., delivered the opinion of the
         nance Act requiring corporations and labor
                                                              'eourt, in which WELLFORD, J., joined.
         unions to obtain affirmative consent at least        DAUGHTREY, J. (pp. 1253-56), delivered a
         once per year for members utilizing automat-
                                                              separate dissenting opinion.
         ic payroll deduction to make contributions to
         political contribution fund does not violate            ALAN E. NORRIS, Circuit Judge.
         the First Amendment, under intermediate·                In this consolidated appeal, the Michigan
         scrutiny analysis; statute furthers substantial      secretary of state challenges. the district
         governmental interest in striking balance be-        court's order preliminarily enjoining enforce-
         tween right to solicit political contributions       ment of Mich. Comp. Laws Ann.§ 169.255(6)
         and coequal right· not to contribute, interest       (West 1996), a section of the Michigan Cam-
         is wholly unrelated to suppression of free           paign Finance Act requiring labor unions to
         speech, and statute does not burden substan-         obtain affirmative consent at least once per
         tially more speech than necessary. U.S.C.A.          year from members utilizing .an automatic
         Const.Amend. 1; M.C.L.A. § 169.255(6).               payroll deduction to make contributions to
                                                              their union for political purposes. The Mich-
                                                              igan Chamber of Commerce appeals the dis-
            Andrew Nickelhoff (argued), Theodore              trict court's denial of its motion to intervene,
         Sachs (briefed), Sachs, Nunn, Kates, Kadush-         either permissively or as of right, as a defen-
         in, O'Hare, Helveston & Waldman, Detroit,            dant in order to argue for the constitutionali-
         MI, for Michigan State AFL-CIO in both               ty of § 169.255(6) and of the other statutory
         cases.                                               provisions contested by plaintiffs. We re-
           Theodore Sachs (briefed), Sachs, Nunn,             verse on both grounds.
         Kates, Kadushin, O'Hare, Helveston & Wald-
         man, Detroit, MI, for International Union,                               I. FACTS
         United Automobile, Aerospace & Agricultur-              Throughout the latter half of the 1980s, the
         al Implement Workers of America (UAW),               Michigan Chamber of Commerce (the
         Metropolitan Detroit AFL-CIO, Seafarer's             "Chamber"), a non-profit Michigan corpora-
         International Union of North America,                tion whose membership comprises more than
         Franklin D. Garrison, Edgar A. Scribner in           six thousand Michigan corporations, litigated
         both cases.                                          the question of whether the Michigan Cam-
           John D. Pirich (argued and briefed), John          paign Finance Act then in effect unfairly
         S. Kane, Honigman, Miller, Schwartz &                discriminated against corporations in favor of
         Cohn, Lansing, MI, for Michigan Chamber of           labor organizations. The Chamber contend-
         Commerce in No. 95-1397.                             ed that allowing labor unions, their tradition-
                                                              al political adversaries, to make political con-
            Richard P. Gartner, As~t. Attorney Gen.           tributions directly from their treasuries,
         (argued and briefed), Office of the Attorney         while at the same time. restricting corporate
         General of Michigan; Lansing, MI, for Cand-          contributions to monies earmarked for statu-
         ice Miller in No. 95-1858.                           torily mandated "separate segregated funds,"
           John P. Pirich (argued and briefed), John          substantially weakened the political influence
         S. Kane, Honigan, Miller, Schwartz & Cohn,           of corporations vis-a-vis labor unions. In
         Lansing, MI, for Michigan Chamber of Com-            1990, the Supreme Court ruled that prohibit-
         merce, Amicus Curiae in No. 95-1858.                 ing corporations, but not labor unions, from
Case 2:12-md-02311-SFC-RSW ECF No. 2060-14 filed 06/18/20                               PageID.37987            Page 6
                                    of 18
            1244                     103 FEDERAL REPORTER, 3d SERIES

            making political expenditures from their gen-     Procedure 24(b)." The district court then
            eral treasuries does not violate the Constitu-    indicated that it would permit the Chamber
            tion. See Austin v. Michigan Chamber of           to participate as an · amicus curiae. The
            Commerce, 494 U.S. 652, 660--66; 110 S.Ct.        Chamber filed a timely notice of appeal from
            1391, 1397-1401, 108 L.Ed.2d 652 (1990).          this order, and we have jurisdiction under 28
               The Chamber then shifted its focus from        U.S.C. § 1291 (1994) and the collateral order
            litigation to legislation, seeking to have the    doctrine. Stringfellow v. Concerned Neigh-
            statutory restrictions on corporate political     bors in Action, 480 U.S. 370, 377, 107 S.Ct.
            expenditures applied to unions as well. With      1177, 1182-83, 94 L.Ed.2d 389 (1987); Cohen
            the Chamber's support, Michigan's legisla-        v. Beneficial Indus. Loan Corp., 337 U.R
            ture in May of 1994 enacted Public Act 117,       541, 546--47, 69 S.Ct. 1221, 1225-26, 93 L.Ed.
            amending its Campaign Finance Act, Mich.          1528 (1949); Purnell v. City of Akron, 925
            Comp. Laws Ann. §§ 169.201-.282 (West             F.2d 941, 944 & n. 2 (6th Cir.1991).
            1996). See 1994 Mich. Pub. Acts 117.
                                                                 Also on March 10, 1995, the district court
               On February 14, 1995, plaintiffs, four la-
                                                              held a hearing on plaintiffs' motion for a
            bor unions and two union presidents, filed a
                                                              preliminary injunction. The Chamber was
            complaint seeking declaratory and injunctive
                                                              allowed to present oral argument as an ami-
            relief as to four provisions of the 1994
                                                              cus curiae. On March 31, .1995, the day
            amendments. Plaintiffs contested sections
                                                              before the 1994 amendments were to become
            establishing that (1) contributions by all
                                                              effective, the district court issued an opinion
            branches, subsidiaries, and local units of a
            corporation or labor union would be aggre-        purporting to deny injunctive relief as to
                                                              § 169.254(1) and to enjoin preliminarily
            gated for purposes of the contribution limit,
                                                              §§ 169.252(9), 169.255(4), and 169.255(6).
            see § 169.252(9); (2) labor unions would be
            subject to the proscription, already applica-     The district court entered an order on July
            ble to corporations, on making contributions      19, 1995, formally granting in part and deny-
            from general funds, see § 169.254(1); (3) la-     ing in part the preliminary injunction in ac-
            bor unions would be permitted to solicit do-      cordance with its earlier opinion.
            nations to their separate segregated fund            The Michigan Secretary of State filed a
            from only those individuals and entities list-    timely notice of appeal, and we have jurisdic-
            ed in the statute, see § 169.255(4); and (4)      tion pursuant to 28 U.S.C. § 1292(a)(l)
            corporations and labor unions would be re-
                                                              (1994). The Secretary of State's notice of
            quired to obtain affirmative consent at least
                                                              appeal, as well as the subsequent briefs and
            once per year from members making contri-
                                                              oral argument to this court, are limited to
            butions to a separate segregated fund by
                                                              challenging the district court's preliminary
            means of an automatic payroll deduction, see
                                                              injunction with respect to § 169.255(6). The
            § 169.255(6). On February 28, 1995, two
                                                              Michigan Attorney General has not appealed
            weeks after the filing of the complaint and
                                                              any aspect of the proceedings before the
            prior to any hearings in the case, the Cham-
                                                              district court.
            ber filed a motion to intervene. Defendants
            did not oppose intervention.                        After the decisions below and the filing of
               On March 10, 1995, the district court is-      appellate briefs, Michigan again amended its
            sued a short order denying the Chamber            Campaign Finance Act. See 1995 Mich. Pub.
            intervenor status. After quoting the lan-         Acts 264. Public Act 264, which went into
            guage of Fed.R.Civ.P. 24(a), the order contin-    effect on March 28, 1996, did not materially
            ued as follows: "It is the Court's opinion that   change any of the statutory language rele-
            the Michigan Chamber of Commerce does             vant to this case, although it did renumber
            not fulfill the necessary requirements for in-    two of the four provisions at issue. For the
            tervention as of right. As to permissive          sake of clarity, any citations or quotations of
            intervention, the court chooses not to exer-      the Campaign Finance Act in this opinion
            cise its discretion and allow the applicant to    refer to the current version, which incorpo-
            intervene pursuant to Federal Rule of Civil       rates the amendments from Public Act 264.
Case 2:12-md-02311-SFC-RSW ECF No. 2060-14 filed 06/18/20                                     PageID.37988       Page 7
                                    of 18
                                MICHIGAN STATE AFL-CIO v. MILLER                                      ·1245
                                         Cite as 103 F.3d 1240 (6th Cir. 1997)
                    II. INTERVENTION                         timeliness is not a problem here. The inter-
           We first address the district court's denial      vention motion was filed just two weeks after
        of intervenor status to the Chamber. "[A]            the complaint, and the case was obviously in
        lawsuit often is not merely a private fight          its initial stage. Plaintiffs themselves do not
        and will have implications on those not              argue that the motion was late. We consider
        named as parties." 7C Charles A. Wright,             the Chamber's motion timely as a matter of
        Arthur R. Miller & Mary Kay Kane, Federal            law.
        Practice and Procedure § 1901 (1986). At
                                                                2. Substantial Legal Interest
        stake is more than just the opportunity to
        present argument to the district court, an              [4] The focus of the parties' arguments
        interest that can be accommodated by amicus          concerning intervention was, appropriately,
        participation. What the Chamber also de-             on the question of whether the Chamber has
        sires is the ability to seek appellate review in     a legal interest in this case that is substantial
        the event that the district court ultimately         enough to warrant intervention as of right.
        determines that one or more of the 1994              Plaintiffs characterize the Chamber's interest
        amendments are unconstitutional and the              as remote, consisting of nothing more than a
        original defendants fail to appeal that ruling.      desire to see a law enforced against someone
                                                             else. The Chamber responds that its in-
        A     Intervention of Right                          volvement in the political process that culmi-
            [1, 2] Under the Federal Rules of Civil          nated in adoption of the 1994 amendments
                                                             and its status as an entity similarly regulated
        Procedure, an outsider may intervene as "of
        right":                                              by the challenged statutes deserve legal pro-
                                                             tection.
           (2) when the applicant claims an interest
           relating to the property or transaction              This circuit has opted for a rather expan-
           which is the subject of the action and the        sive notion of the interest sufficient to invoke
           applicant is so situated that the disposition     intervention of right. See Purnel½ 925 F.2d
           of the action may as a practical matter           at 948; Bradley v. Milliken, 828 F.2d 1186,
           impair or impede the applicant's ability to       1192 (6th Cir.1987) ("[T]his court has ac-
           protect that interest, unless the applicant's     knowledged that 'interest' is to be construed
           interest is adequately represented by ex-         l~berally."). We have, for example, noted
           isting parties.                                   that an intervenor need not have the same
                                                             standing necessary to initiate a lawsuit, Pur-
        Fed.R.Civ.P. 24(a). This court has interpret-
                                                             nel½ 925 F.2d at 948, and cited with approval
        ed Rule 24(a) as establishing four elements,
                                                             decisions of other courts "reject[ing] the no-
        each of which must be satisfied before inter-
                                                             tion that Rule 24(a)(2) requires a specific
        vention as of right will be granted: (1) timeli-
                                                             legal or equitable interest." Id.; cf Associ-
        ness of the application to intervene, (2) the
                                                             ated Builders & Contractors v. Perry, 16
        applicant's substantial legal interest in the
                                                             F.3d 688 (6th Cir.1994) (noting that interve-
        case, (3) impairment of the applicant's ability
                                                             nor need not have standing before district
        to protect that interest in the absence of
                                                             court but distinguishing standing required
        intervention, and (4) inadequate representa-
                                                             for appeal). The inquiry into the substantial-
        tion of that interest by parties already before
                                                             ity of the claimed interest is necessarily fact-
        the court. Cuyahoga Valley Ry. Co. v. Tra-
                                                             specific.
        cy, 6 F.3d 389, 395 (6th Cir.1993). We re-
        view a district court's determination as to             While nqne of our .rases have addressed
        timeliness for an abuse of discretion, and the       the significl),nce to be 11ccorded a proposed
        remaining three elements are examined de             intervenor's interest in the validity of legisla-
        novo. Id.                                            tion, the Ninth Circuit has adopted a broader
                                                             rule that a public interest group that is in-
          1. Timeliness                                      volved in the process leading to adoption of
          [3] While the district court made no find-         legislation has a cognizable interest in de-
        ing concerning the timeliness of the Cham-           fending that legislation. See Idaho Farm
        ber's application to intervene, it appears that      Bureau Fed'n v. Babbitt, 58 F.3d 1392, 1397
Case 2:12-md-02311-SFC-RSW ECF No. 2060-14 filed 06/18/20                              PageID.37989             Page 8
                                    of 18
            1246                     103 FEDERAL REPORTER, 3d SERIES

            (9th Cir.1995);. Sagebrush Rebellion, Inc. v.     statutory scheme that regulates political con-
            Watt, 713 F.2d 525, 527 (9th Cir.1983); see       tributions by labor unions and corporations,
            also State of Idaho v. Freeman, 625 F .2d 886     contributions that can have a substantial im-
            (9th Cir.1980). Idaho Farm Bureau sup-            pact upon the exercise of political power in
            ports our conclusion in this case that the        Michigan by influencing the outcome of elec-
            rules governing intervention are "construed       tions. Under somewhat similar circum-
            broadly in favor of the applicants." 58 F.3d      stances, in the State of New York, pharma-
            at 1397 (citing United States v. Oregon, 913      cists and their association were permitted to
            F.2d 576, 587 (9th Cir.1990), cert. denied,       intervene as of right in order to defend their
            Makah Indian Tribe v. United States, 501          financial interests with respect to a state
            U.S. 1250, 111 S.Ct. 2889, 115 L.Ed.2d 1054       regulation prohibiting the advertising of pre-
            (1991)). There, the intervening public inter-     scription drug prices that was under attack
            est group had been involved in a separate         in a lawsuit brought by consumers. New
            suit in a matter related to the issues in         York Pub. Interest Research Group, Inc. v.
            controversy. It had filed a timely motion to      Regents, 516 F.2d 350 (2d Cir.1975).
            intervene, had supported the action of the
            defendant in the case-just as the Chamber            Plaintiffs rely principally upon Athens
            has supported the legislation challenged in       Lumber Co. v. Federal Election Comm'n,
            the instant case-and "had been active in the      690 F.2d 1364 (11th Cir.1982). In that
            process" leading to the litigation. Id. at        case, Athens Lumber sued the Federal
            1398. The court was also satisfied that the       Election Commission challenging a provision
            Fish & Wildlife Agency (FWA) (the govern-         of the Federal Elections Commission Act
            ment entity defendant) would not have ade-        that limited corporate expenditures. Id. A
            quately represented the intervenor's interest.    labor union and its president sought to in-
            Members .of the intervening group, more-          tervene on behalf of defendant, claiming an
            over, had "direct contact" with the subject of    interest in not being harmed financially in
            the litigation and FWA had failed to appeal       federal elections by corporate contributions.
            an important ruling on a significant issue of     Id. at 1366. The union had no contact at
            great concern to the intervenor. If anything,     all with the corporation, nor had it been
            however, the successful intervenors in Idaho      shown to have been a part of the legislative
            Farm Bureau had less direct interest and          process. The corporation challenged only
            exposure to potential injury than does the        the application of the law to its own contri-
            Chamber in this case, although the bases for      butions. The court denied the application,
            intervention were generally the same. Simi-       correctly in our view, because the union
            larly, in Sagebrush Rebellion, Inc. v. Watt,      lacked a "direct, substantial, legally protect-
            the intervening public interest group also        able interest" inasmuch as it was not a
            supported the position of the government          "real party in interest in the transaction
            defendant and had actively opposed the            which is the subject of the proceeding." Id.
            plaintiff in the administrative process leading   The court went on to state that the "sole
            to the governmental action. 713 F .2d at 525.     basis of [the union's] interest is general
                                                              concern . . . shared with all unions and all
               In Meek v. Metropolitan Dade County, 985
            F.2d 1471 (11th Cir.1993), the Eleventh Cir-      citizens concerned about the ramifications of
            cuit, in a suit challenging the country's at-     direct corporate expenditures." Id. The
            large system for electing county commission-      court denied the application, holding that
            ers, ordered intervention as of right for indi-   the "interest is so generalized it will not
            viduals seeking to uphold that system.            support a claim for intervention as of
            There, the court identified the intervenors'      right." Id.
            interest as "maintaining the election system        We acknowledge that our holding is not
            that governed their exercise of political pow-    without limit, and do not disagree with Ath-
            er, a democratically established system that      ens Lumber on its facts. However, based
            the district court's order had altered." Id. at   upon the particularly compelling facts pre-
            1480. The situation now before us is analo-       sented in the case before us, we find it to be
            gous, as the Chamber seeks to vindicate the       clearly distinguishable. The evidence shows
Case 2:12-md-02311-SFC-RSW ECF No. 2060-14 filed 06/18/20                                     PageID.37990       Page 9
                                    of 18
                                 MICHIGAN STATE AFL-CIO v; MILLER                                      1247
                                          Cite as 103 F.3d 1240 (6th Cir. 1997)
        that the Chamber was (1) a vital participant          the opportunity to display the menorah in the
        in the political process that resulted in legis-      coining season would be lost forever. We
        lative adoption of the 1994 amendments in             held that intervention was appropriate. Id.
        the first place, (2) a repeat player in Cam-          at 305-06. We further noted that in such a
        paign Finance Act litigation, (3) a significant       case the potential intervenor's interest "dissi-
        party which is adverse to the challenging             pates with .every passing day," and therefore
        union in the political process surrounding            the policies underlying Rule 24(a) support
        Michigan state government's regulation of             intervention so that the interest may be pro-
        practical campaign financing, and (4) an enti-        tected while there is still time to do so. Id.
        ty also regulated by at. least three. of the four     at 306.
        statutory provisions challenged by plaintiffs.           The same concern exists in this case, as
        Admittedly, the intervention issue raised in          elections will come and go. If the Chamber
        this appeal is a close one, but in view of the        is not pertnitted to intervene and the case
        facts unique to this particular case, and in          does not move quickly to final judgment,
        the belief that close cases should be resolved        then the labor unions iri Michigan· might not
        in favor of recognizing an interest under             be subject to one or more of the 1994 amend-
        Rule 24(a), we hold that the Chamber has a            ments in forthcotning elections. The Cham-
        substantial legal interest in this litigation.        ber may lose the opportunity to ensure that
                                                              one or more electoral campaigns in Michigan
          3. Impairment                                       are conducted under legislatively approved
           [5, 6] To satisfy this element of the inter-       terms that the Chamber believes· to be fair
        vention test, a would-be intervenor must              and constitutional. The Chamber has dem-
        show only that impairment of its substantial          onstrated impairment of its interest.
        legal interest is possible if intervention is
        denied. Purnell, 925 F .2d at 948. This bur-            ·4.   Inadequate Representation
        den is tninimal. The Chamber asserts that                [7] Although a would-be intervenor is
        the precedential effect of an adverse rulirig in      said to shoulder the burden with respect to
        the district court could hinder its own efforts       establishing that its interest is not adequate-
        to litigate the validity of Michigan's system         ly protected by the · existing parties to the
        for regulating campaign finance both in cur-          action, this burden "is minimal because it is
        rently ongoing cases and in future chal-              sufficient that the movant[ ] prove that rep-
        lenges. This court has already acknowl-               resentation may be inadequate." Linton,
        edged that potential stare decisis effects can        973 F.2d at 1319. One is not required to
        be a sufficient basis for finding an impair-          show that the representation will in fact be
        ment of interest. Linton v. Commissioner of           inadequate. For example, it may be enough
        Health & Env't, 973 F.2d 1311, 1319 (6th              to show that the existing party who purports
        Cir.1992).                                            to seek the same outcome will not make all of
           Moreover, this court has recognized that           the prospective intervenor's arguments. See
        the time-sensitive nature of a case may be a          Forest Conservation Council v. United
        factor in our intervention analysis. An anal-         States Forest Serv., 66 F.3d 1489, 1498-99
        ogous situation was presented in Americans            (9th Cir.1995). One would expect that the
        United for Separation of Church and State v.          Chamber, as a: target of the statutes' regula-
        City of Grand Rapids, 922 F.2d 303 (6th               tions, would harbor an approach and reason-
        Cir.1990), where denial of intervention would         ing for upholding the statutes that will differ
        have resulted in the ·inability of a would-be         markedlydrom •those of the state, Which is
        intervenor to display    a menorah ori public         cast by the statutes in the role of regulator.
        property during Chanukah. The extra time              And while the Chamber's ultimate design
        involved in initiating a separate lawsuit could       may be to improve its members' political
        easily have pushed a resolution of the matter         clout in comparison to that of the unions, that
        beyond the coming Chanukah season. Even               will not be the focus of the state's efforts
        though a separate suit might have adequately          since they are aimed at creating a level plays
        settled rights with respect to future years,          ing field.
Case 2:12-md-02311-SFC-RSW ECF No. 2060-14 filed 06/18/20                               PageID.37991              Page 10
                                    of 18
             1248                     103 FEDERAL REPORTER, 3d SERIES

                [8, 9] Moreover, "a decision not to appeal      claim that the 1994 amendments are valid
             by an original party to the action can consti-     presents a question of law common to the
             tute inadequate representation of another          main action. Accordingly, we turn to the
             party's interest." Americans United, 922           district court's exercise of its discretion.
             F .2d at 306. The Secretary of State has not          [11] Unfortunately, the district court did
             sought interlocutory review of the prelimi-        not provide us with its reasoning for denying
             nary injunction as it relates to two· of the       permissive intervention. All that we are told
             three temporarily invalidated provisions, and      is that "the court chooses not to exercise its
             Michigan's attorney general has not appealed       discretion and allow the applicant to inter-
             at all. While passively tolerating a prelimi-      vene pursuant to Federal Rule of Civil Pro-
             nary injunction pending a final resolution of      cedure 24(b)." If we are to review a district
             the merits may serve the interests of the          court's exercise of discretion, the court must,
             State of Michigan, it cannot be said to repre-     except where the basis for the decision is
             sent the Chamber's interests, in view of its       obvious in light of the record, provide enough
             concern with timeliness. The decision not to       of an explanation for its decision to enable
             appeal certain aspects of the district court's
                                                                this court to conduct meaningful review. It
             preliminary injunction may amount to sound         is insufficient merely to quote the rule and to
             litigation strategy and a prudent allocation of    state the result. See United States v. Woods,
             Michigan taxpayers' money, but this decision
                                                                885 F.2d 352, 353-54 (6th Cir.1989); TEC
             also further illustrates how the interests of      Eng'g Corp. v. Budget Maulers Supply, Inc.,
             the state and of the Chamber diverge. The          82 F.3d 542, 545 (1st Cir.1996).
             State of Michigan has already demonstrated
             that it will not adequately represent and             The existence of a zone of discretion does
             protect the interests held by the Chamber.         not mean that the whim of the district court
             Accordingly, the Chamber has made a suffi-         governs. Under Rule 24(b), the district
             cient showing in this regard.                      court "shall consider" whether intervention
                                                                would result in undue delay or excessive
                Under the circumstances of this case, then,
                                                                prejudice to the original parties. In light of
             we conclude that the Chamber has satisfied
             the four elements found in Fed. R. Civ. R.         the district court's decision permitting the
             24(a) and is entitled to intervention as of        Chamber to participate in briefing and oral
             right.                                             argument as an amicus curiae, it is difficult
                                                                to see how granting intervention would have
             B. Permissive Intervention                         materially increased either delay or preju-
                                                                dice. If the district court denied permissive
                [10] Rule 24 also provides the standard
                                                                intervention for some other reason, then it
             for permissive intervention, stating that:
                                                                should· have explained its decision on the
                   Upon timely application anyone may be        record. Had we not concluded that the dis-
               permitted to intervene in an action: . . . (2)   trict court should have granted the Chamber
               when an applicant's claim or defense and         intervention as of right, we would be com-
               the main action have a question of law or        pelled to remand for further development of
               fact in common. . . . In exercising its dis-     the record as to the appropriateness of per-
                cretion the court shall consider whether        missive intervention.
               the intervention.will unduly delay or preju-
                dice the adjudication of the rights of the
                                                                     III. THE FIRST AMENDMENT
                original parties.
                                                                            AND § 169.255(6)
             Fed.R.Civ.P. 24(b). So long as the. motion
             for intervention is timely and there is at least     Section § 169.255(6) provides in pertinent
             one common question of law• or fact, the           part:
             balancing of undue delay, prejudice to the           A corporation organized on a for profit or
             original parties, and any other relevant fac-        nonprofit basis, a joint stock company, a
             tors is reviewed for an abuse· of discretion.        domestic dependent ·sovereign, or a labor
             Purnell, 925 F.2d at 950-51. As noted earli-         organization may solicit or obtain contribu-
             er, the motion was timely. The Chamber's             tions for a separate segregated fund estab-
Case 2:12-md-02311-SFC-RSW ECF No. 2060-14 filed 06/18/20                                      PageID.37992        Page 11
                                    of 18
                                 MICHIGAN STATE AFL-CIO v. MILLER                                        1249
                                          Cite as 103 F.3d 1240 (6th Cir. 1997)
           lished under this section from an individual       A.   Precedential Force of KEPAC
           described in subsection (2), (3), (4), or (5)         The district court relied upon Kentucky
           on an automatic basis, including but not           Educators Public Affairs Council v. Ken-
           limited to a payroll deduction plan, only if       tucky Registry of Election Finance, 677 F .2d
           the individual who is contributing to the          1125 (6th Cir.1982) ("KEPAC "), as support
           fund affirmatively consents to the contribu-       for the proposition that restrictions on the
           tion at least once in every calendar year.         solicitation of political contributions are un-
                                                              constitutional unless the government can
         Mich. Comp. Laws Ann .. § 169.255(6) (West
                                                              prove that these restrictions are necessary to
         1966). Applying strict scrutiny, the district
                                                              remedy coercion of unwilling donors. The
         court concluded that this section violates the
                                                              district court invalidated § 169.255(6) at least
         First Amendment and issued a preliminary
                                                              in part because Michigan had offered no
         injunction. Michigan State AFL--CIO v.               proof of actual coercion. This reliance on
         Miller, 891 F.Supp. 1210, 1217-18 (E.D.Mich.         KEPAC was misplaced.
         1995).
                                                                 In KEPAC, this court reviewed a district
            [12-14] We review the grant of prelimi-           court's holding that the denial to a union of
         nary injunctive relief for an abuse of discre-       the right to collect funds by "reverse check-
         tion, reversing where the district court has         off," whereby funds for political activities
         committed legal error or relied upon clearly         would be deducted from union members' pay
         erroneous factual findings. Dayton Area Vi-          checks automatically unless the members af-
         sually Impaired Persons, Inc. v. Fisher, 70          firmatively requested that no such deduction
         F.3d 1474, 1480 (6th Cir.1995), cert. de-            be made, was inconsistent with both the Ken-
         nied, -     U.S.·-, 116 S.Ct. 1421, 134              tucky statutory prohibition on coercion in
         L.Ed.2d 545 (1996). This court considers             collecting funds for political activity and the
         four factors in determining the appropriate-         First Amendment. This court's opinion fo-
         ness of a preliminary injunction: (1) whether        cused nearly all of its analysis on affirming
         the plaintiffs are likely to succeed on the          the statutory holding-that "reverse check-
         merits, (2) whether the plaintiffs will suffer       off' could not be deemed to violate the Ken-
         irreparable injury in the •absence of an in-         tucky statute absent evidence of coercion of
         junction, (3) whether granting the injunction        union members. The court in KEPAC made
         will cause substantial harm to others, and (4)       a cryptic reference to the constitutional is-
         whether the issuance of the injunction is in         sue:
         the public interest. Id. Not all of these                 The district court did not err in finding
         factors fully need be established for an in-            that there was no substantial evidence to
         junction to be proper.                                  support the findings of fact, conclusions of
                                                                 law, and order of the Kentucky Registry of
            [15] While, as a general matter, none of             Election Finance, and in finding that the
         these four factors are given controlling                Registry had applied KRS ·121.320 in a
         weight, a preliminary injunction issued where           manner, that violated KEPAC's First
         there is simply no likelihood of success on the         Amendment rights to collect money for
         merits must be reversed. In Sandison v.                 political purposes by use of a reverse
         Michigan High School Athletic Association,              check-off system.
         64 F.3d 1026, 1037 (6th Cir.1995), for exam-         Id. atH33 (emphasis added).
         ple, we concluded that ,there wa& no likeli-          . The opinion .i.µcludes no analysis of the
         hood of success on,.the merits and reversed          constitutional question, ai;id ,no rule .of law is
         the grant of injunctive relief without consid7       stated, In discussing and a,.ttempting .to ex7
         ering it necessary to address the other three        plain what . this court did in KEPAC; one
         factors. Because we believe that the district        court has commented as follows:
         court applied the incorrect level of constitu-          Kentucky law permitted employee organi-
         tional scrutiny and that plaintiffs have no             zations to participate in payroll deductions,
         likelihood of success under the appropriate             and, since the evidence indicated the re-
         legal standard, we reverse.                             verse check,off system was not coercive,
Case 2:12-md-02311-SFC-RSW ECF No. 2060-14 filed 06/18/20                                PageID.37993              Page 12
                                    of 18
             1250                     103 FEDERAL REPORTER, 3d SERIES

               the Kentucky Corrupt Practices Act was              [16, 17) It is well-settled that a law re-
               not deemed violated. The First and Four-         stricting speech on the basis of content is
               teenth Amendment issues raised by Plain-         subject to strict scrutiny, which requires that
               tiffs here were not clearly addressed by         the law be necessary to serve a compelling
               the Sixth Circuit.                               state interest and narrowly tailored to
                                                                achieve that end. Perry Educ. Ass'n v. Per-
                                                                ry Local Educators' Ass'n, 460 U.S. 37, 45,
                  . . . . [T]he issue before that Court was
                                                                103 S.Ct. 948, 954-55, 74 L.Ed.2d 794 (1983).
               not constitutionality of removal of the right
                                                                It is an equally familiar principle that a law
               to check off; the issue there was whether
                                                                neutral with respect to content is subject to
               reverse check-off was "coercive" under
                                                                intermediate scrutiny, which is satisfied
               Kentucky law and therefore illegal. The
                                                                where the law furthers an important govern-
               Sixth Circuit held it was not coercive and,
                                                                mental interest without burdening substan-
               therefore, was legal.
                                                                tially more speech than necessary. See
             Toledo Area AFL-CIO Council v. Pizza, 898          Ward v. Rock Against Racism, 491 U.S. 781,
             F.Supp. 554, 569-70 (N.D.Ohio), modified on        798, 109 S.Ct. 2746, 2757-58, 105 L.Ed.2d 661
             other grounds, 907 F.Supp. 263 (N.D.Ohio           (1989). Whether a law is content-based or
             1995).                                             content-neutral is not, however, always an
               Although the district court relied upon the      easy question to answer.
             single brief statement in KEPAC that pur-              [18) Plaintiffs contend that § 169.255(6)
             ports to decide the First Amendment issue, a       is content-based, pointing to Buckley v. Va-
             fair reading of that opinion reveals that the      leo, 424 U.S. 1, 96 S.Ct. 612, 46 L.Ed.2d 659
             resolution of the appeal there under consid-       (1976) (per curiam), and Austin v. Michigan
             eration rested entirely on statutory grounds.      Chamber of Commerce, 494 U.S. 652, 110
             That conclusion is buttressed by the fact that     S.Ct. 1391,.108 L.Ed.2d 652 (1990), where the
             the opinion undertook no analysis of a First       Supreme Court applied strict scrutiny to var-
             Amendment issue. Accordingly, KEPAC                ious provisions of state and federal campaign
             cannot be said to amount to binding prece-         finance statutes. In Buckley, the Court ad-
             dent on the First Amendment issue in this          dressed federally-imposed dollar limits on po-
             appeal. We do not take issue with the dis-         litical contributions by individuals and politi-
             sent's view that the First Amendment allows        cal action committees and on expenditures by
             organizations to express their political views.    candidates and political parties. In Austin,
                                                                the Court considered Michigan's outright ban
             B. First Amendment Scrutiny                        on political contributions made from corpo-
                The First Amendment, which applies to           rate general treasuries. Plaintiffs reason
             the states through the Due Process Clause of       that these cases establish the rule that any
             the Fourteenth Amendment, see, e.g., 44 Li-        law relating to "political speech" warrants
             quormart, Inc. v. Rhode Island, -           U.S.   strict scrutiny. See also McIntyre v. Ohio
             -, -        n. 1, 116 S.Ct. 1495, 1501 n. 1, 134   Elections Comm'n, -          U.S. - - , - - -
             L.Ed.2d 711 (1996), proscribes laws "abridg-       - , 115 S.Ct. 1511, 1516--18, 131 L.Ed.2d
             ing the freedom of speech . . . or the right of    426 (1995) (applying strict scrutiny to invali-
             the people peaceably to assemble." Plaintiffs      date state ban on circulation of anonymous
             claim that § 169.255(6) violates the speech        political literature).
             and associational rights protected by the              Plaintiffs also argue that the content~basis
             Constitution. In particular, plaintiffs allege     of the statute is established by the fact that
             that the annual consent requirement unduly         it applies only to automatic payroll deduc-
             interferes with their right to solicit funds for   tions that involve political contributions and
             the furtherance of protected speech, an activ-     not to all automatic payroll deductions. Re-
             ity recognized as falling within the scope of      lying upon Carey v. Brown, 447 U.S. 455,
             the First Amendment. See Riley v. Nation-          460--62, 100 S.Ct. 2286, 2289-91, 65 L.Ed.2d
             al Fed'n of the Blind, 487 U.S. 781, 789, 108      263 (1980), and Consolidated Edison Co. v.
             S.Ct. 2667, 2673-74, 101 L.Ed.2d 669 (1988).       Public Service Commission, 447 U.S. 530,
Case 2:12-md-02311-SFC-RSW ECF No. 2060-14 filed 06/18/20                                     PageID.37994        Page 13
                                    of 18
                                 MICHIGAN STATE AFL-CIO v. MILLER                                       1251
                                          Cite as 103 F.3d 1240 (6th Cir. 1997)
         537, 100 S.Ct. 2326, 2333, 65 L.Ed.2d 319               views •expressed are content-based. By
         (1980), they suggest that a government regu-            contrast, laws that confer benefits or im-
         lation confined to a particular type of speech          pose burdens on speech without reference
         is always content-based. The claim is that              to the ideas or views expressed are in most
         strict scrutiny must apply because compli-              instances content-neutral.
         ance with § 169.255(6) can be determined             Turner Broadcasting Sys., Inc. v. Federal
         only by examining the nature of the speech.          Communications Comm'n, 512 U.S. 622,
            The Secretary of State responds that the          640-43, 114 S.Ct. 2445, 2458-59, 129 L.Ed.2d
         annual consent provision is merely a reason-         497 (1994) (citations omitted). In Turner,
         able regulation of the time, place, and man-         the Court reaffirmed that the "principal in-
         ner of speech subject to the less-exacting           quiry in determining content-neutrality ...
         intermediate scrutiny standard. See United           is whether the government has adopted a
         States v. O'Brien, 391 U.S. 367, 377, 88 S.Ct.       regulation of speech because of [agreement
         1673, 1679, 20 L.Ed.2d 672 (1968). Under             or] disagreement with the message it con-
         O'Brien and its progeny, the non-expressive          veys." Id. at 642, 114 S.Ct. at 2459 (quoting
         aspects of speech may be regulated so long           Ward, 491 U.S. at 791, 109 S.Ct. at 2754).
         as the legislative goal is not to stifle speech      See also Madsen v. Women's Health Ctr., 512
         itself. See id. at 376, 88 S.Ct. at 1678-79          U.S. 753, 763, 114 S.Ct. 2516, 2523, 129
         (concerning destruction of draft card); Ward,        L.Ed.2d 593 (1994) (''We thus look to the
         491 U.S. at 792, 109 S.Ct. at 2754 (addressing       government's purpose as the threshold con-
         regulation of volume at outdoor concert).            sideration.").
         The Secretary of State argues that
                                                                 The question, then, is whether the Michi-
         § 169.255(6), rather than limiting any politi-
                                                              gan legislature adopted the annual consent
         cal expression, merely ensures .that the con-
                                                              requirement because of agreement or dis-
         tributions to separate segregated funds by
                                                              agreement with the message inherent in po-
         means of automatic payroll deductions are
                                                              litical contributions made via the automatic
         voluntarily made.
                                                              payroll deduction system, or based upon
            We are aided in_ our decision by the Su-          some other concern unrelated to the message
         preme Court's· recent clarification of the ap-       conveyed. The language of § 169.255(6)
         plicable tiers of review:                            gives rise to no inference of legislative hostil-
            [T]he First Amendment, subject only to            ity toward any particular speaker. The stat-
            narrow and well-understood exceptions,            ute applies evenhandedly to the Chamber
            does not countenance governmental control         and to plaintiffs alike. By its terms, the
            over the content of messages expressed by         section covers "[a] corporation organized on a
            private individuals. Our precedents thus          for profit or nonprofit basis, a joint stock
            apply the most exacting scrutiny to regula-       company, a domestic dependent sovereign, or
            tions that suppress, disadvantage, or im-         a labor organization." We discern no invidi-
            pose differential burdens upon speech be-         ous attempt to limit contributions made to
            cause of its content. Laws that compel            separate segregated funds or to favor one
            speakers to utter or distribute speech            class of voters over another. The Secretary
            bearing a particul,ar message are subject         of State asserts that the annual consent re-
            to the same rigorous scrutiny. · In con-          quirement is necessary to preserve the right
            trast, regulations that are unrelated to the      of indivi\fuals not to contribute to the advoca-
            content of speech are subject to an inter-        cy of a political message, a right accorded the
            mediate level of scrutiny, because in most        same constitutional status as plaintiffs' right
            cases they pose a less substantial risk of        to solicit poli,tical fuIJ.ds .. See Abood v. De-
            excising certain ideas or viewpoints from         troit Bd. of Educ., 431 U.S. 209, 234-35, 97
            the public dialogue.                              S.Ct. 1782, 1799-1800, 52 L.Ed.2d 261 (1977).
                                                              There is no basis in the record for doubting
             As a general rule, laws that by their            that claim. See also One World One Family
           terms distinguish favored speech from dis-         Now v. City and County of Honolulu, 76
           favored speech on the basis of the ideas or        F.3d 1009, 1012 n. 5 (9th Cir.1996).
Case 2:12-md-02311-SFC-RSW ECF No. 2060-14 filed 06/18/20                                PageID.37995               Page 14
                                    of 18
             1252                     103 FEDERAL REPORTER, 3d SERIES

                As for the claim that the statute's applica-    concern .... " Blount v. S.E.C., 61 F.3d 938,
             tion only to political speech renders the pro-     942 (D.C.Cir.1995). In this case, the statute
             vision content-based, it must be remembered        at issue (§ 169.255(6)) is not facially discrimi-
             that the focus is on whether the government        natory inasmuch as the statute makes no
             has addressed a class of speech in order to        explicit reference to any particular type of
             suppress discussion of that topic. See, e.g.,      speech and treats all speakers evenhandedly.
             Turner, 512 U.S. at 642-43, 114 S.Ct. at           Therefore, we must consider whether there
             2459; B'lount v. Securities and Exchange           is any concern that the government is subjec-
             Comm'n, 61 F.3d 938, 942 (D.C.Cir.1995),           tively attempting to suppress the communica-
             cert. denied, -     U.S.-, 116 S.Ct. 1351,         tive aspect of speech.
             134 L.Ed.2d 520 (1996); American Library
             Ass'n v. Reno, 33 F.3d 78, 87 (D.C.Cir.1994),         While the subject matter of§ 169.255(6) is
             cert. denied, -     U.S. - , 115 S.Ct. 2610,       confined to political speech, there is no basis
             132 L.Ed.2d 854 (1995). The cases upon             for concern that the state is trying to sup-
             which plaintiffs rely highlight the danger in-     press that speech. Nothing in the statute
             herent in singling out a particular class of       evinces a hostility to political speech, wheth-
             speech for special legislative treatment. In       er in the form of contributions or solicita-
             Carey, a state statute that prohibited gener-      tions. Where there is no reason to believe
             ally the picketing of places of employment         that a legislature has singled out a class of
             but exempted the picketing of places of em-        speech in order to give it favored or disfa-
             ployment involved in a labor dispute was con-      vored status, the policies meriting strict scru-
             sidered to be content-based because the gov-       tiny are not implicated. That Michigan has
             ernment had placed speech relating to labor        evidenced concern about political contribu-
             disputes in a favored position with respect to     tions rather than all contributions of individ-
             other topics of discussion. Ca:rey, 447 U.S.       uals as groups involved does not subject this
             at 460-62, 100 S.Ct. at 2289-91. In Consoli-       statute to strict scrutiny.
             dated Edison, an order of the state Public           We conclude that the annual affirmative
             Service Commission prohibiting a utility           consent provision is content-neutral and that
             from including in its monthly statements in-       intermediate scrutiny is the appropriate stan-
             serts discussing controversial issues of public    dard of review.
             policy, including specifically the desirability
             of nuclear power, was held to be content-
             based because it attempted to limit public         C.   Intermediate Scrutiny and § 169.255(6)
             debate on certain issues. Consolidated Edi    0
                                                                   [19] The Turner Court noted that a con-
             son, 447 U.S. at 537, 100 S.Ct. at 2333 ("The      tent-neutral law will satisfy intermediate
             First Amendment's hostility to content-based       scrutiny if "it furthers an important or sub-
             regulation extends not only to restrictions on     stantial governmental interest; if the govern-
             particular viewpoints, but also to prohibition     mental interest is unrelated to the suppres-
             of public discussion of an entire topic.").        sion of free expression; and if the incidental
                As Turner Broadcasting makes clear, the         restriction on alleged First Amendment free-
             real issue is whether the law is aimed at the      doms is no greater than ·is essential to the
             communicative impact of speech. 512 U.S. at        furtherance of that interest." Turner, 512
             642-43, 114 S.Ct. at 2459. We do not con-          U.S. at 662, 114 S.Ct. at 2469 (quoting
             clude that the law was content-based simply        O'Brien, 391 U.S. at 377, 88 S.Ct. at 1679).
             because it practically applied only to political   Moreover, "[n]arrow tailoring in this context
             speech because such a conclusion does not          requires . . . that the means chosen do not
             necessarily address that fundamental issue.        'burden substantially more speech than is
             "[T]he Supreme Court does not regard a             necessary to further the government's legiti-
             [law]'s use of subject based categories as         mate interests.'" Id. (quoting Ward, 491
             automatically establishing it as content-          U.S. at 799, 109 S.Ct. at 2758.) While plain-
             based. The critical issue is whether the           tiffs do not try to argue that the annual
             state's justification for the distinction is the   consent provision fails intermediate scrutiny,
             'content' of the speech itself or some other       opting instead to argue exclusively that strict
Case 2:12-md-02311-SFC-RSW ECF No. 2060-14 filed 06/18/20                                     PageID.37996       Page 15
                                    of 18
                                  MICHIGAN STATE AFL-CIO v. MILLER                                     1253
                                           Cite as 103 F.3d 1240 (6th Cir. 1997)
         scrutiny applies, we review this issue inde-            The third and final criterion is that the law
         pendently in order to determine the likeli-           not "burden substantially more speech than
         hood of success on the merits under the               iR necessary." While plaintiffs and amicus
         appropriate constitutional standard.                  curiae, the Michigan Education Association,
                                                               suggest that the administrative burden of the
            [20] The first prong of this test is that
                                                               annual consent provision will be crushing,
         the statute "furthers an important or sub-
                                                               they offer no support for that claim. An
         stantial ·governmental interest." As noted
                                                               annual mailing to a union's contributing
         earlier, the right not to contribute to political
                                                               members, asking them to check a box and to
         causes that they do not favor is as central a
                                                               return the notice to the union; would seem to
         First Amendment right as is the right to
                                                               suffice under the statute. Labor unions
         solicit funds. See Abood, 431 U.S. at 234, 97
                                                               surely maintain some sort of records on their
         S.Ct.. at 1799. The protection of this right is
                                                               members already, and requiring the unions
         certainly at least "important or substantial,"
                                                               to make space in their files or databases for
         if not compelling. By verifying on an annual
                                                               the inclusion of one more piece of information
         basis that individuals intend to continue dedi-
                                                               seems minimal, certainly a burden insuffi-
         eating a portion of their earnings to a politi-
                                                               cient to rise to the level of a constitutional
         cal cause, § 169.255(6) both reminds those
                                                               violation. Similarly, the suggestion that ask-
         persons thaUhey are giving money for politi-
                                                               ing people to check a box once a year unduly
         cal purposes and counteracts the inertia that
                                                               interferes with the speech rights of those
         would tend to cause people to continue giving
                                                               contributors borders on the frivolous.
         funds indefinitely even after.their support for
         the message may have waned. The annual                   The annual consent requirement with-
         consent requirement ensures that political            stands intermediate scrutiny. Because the
         contributions are in accordance with the              statute is constitutional, plaip.tiffs have no
         wishes of the contributors.                           likelihood of succeeding with their claim as it
            The second element is that "the govern-            relates to § 169.255(6). Accordingly, the
         mental interest is unrelated to the suppres-          grant of preliminary injunctive relief as to
         sion of free speech." In stark contrast to            that section cannot stand.
         Buck/,ey, Austin, and McIntyre, the Michi-
         gan statute does .not impose any direct limits                       IV.   CONCLIJSION
         on speech. It does not determine who can
                                                                 We hold that the Chamber is entitled to
         speak, how much they can speak, or what
                                                               intervenor status under Fed.R.Civ.P. 24(a).
         they may say. Plaintiffs may continue to
                                                               We further hold that Michigan's annual con-
         raise just as much money now as they could
                                                               sent provision, § 169.255(6), is a content-neu-
         before the annual consent requirement was
                                                               tral law that satisfies the requirements of
         made applicable to them. The only qualifica-
                                                               intermediate scrutiny. Accordingly, we re-
         tion is that they may lose the contributions of
                                                               verse the district court's orders denying in-
         individuals who decide that they no longer
                                                               tervention to the Chamber and holding
         wish to continue the automatic deductions.
                                                               § 169.255(6) unconstitutional, we vacate the
         That risk was one that existed before the
                                                               district court's preliminary injunction insofar
         enactment of § 169.255(6), and there is no
                                                               as it applies to § 169.255(6), and we remand
         reason to think that the level of contributions
                                                               for further proceedings.
         will drop significantly now. Even if contribu-
         tions were to decline, however, the cause
                                                                  DAUGHTREY, Circuit Judge, dissenting.
         would be the exercise of informed choice by
         individuals, not the governmental suppres-              While I agree with the majority's reit-
         sion of political advocacy. The governmental          eration of the four elements necessary to
         interest at stake here is striking a balance          justify intervention of right, I cannot agree
         between the right to solicit political contribu-      that the Chamber of Commerce has shown a
         tions and the co-equal right not to contribute,       "substantial legal interest" justifying inter-
         an interest wholly unrelated to the suppres-          vention. In Grubbs v. Norris, 870 F.2d 343
         sion of free speech.                                  (6th Cir.1989), we held that a proposed inter-
Case 2:12-md-02311-SFC-RSW ECF No. 2060-14 filed 06/18/20 PageID.37997                                             Page 16
                                     of 18
              1254         103 FEDERAL REPORTER, 3d SERIES

             venor must have a "direct and substantial"          ion's "alleged interest is shared with all un-
             interest in the litigation, one that is "signifi-   ions and all citizens concerned about the
             cantly protectable." Our past cases illustrate      ramifications of direct corporate expendi-
             the type of interest warranting mandatory           tures." Id. at 1366. Similarly, in this case
             intervention. In Grubbs, for example, a local       the Chamber's interest is too attenuated to
             government sought to intervene in a chal-           justify mandatory intervention. Its interest
             lenge by state prison inmates to state prison       is nothing more than a general concern with
             conditions. This court found that the pro-          the relative political power of th~ two organi-
             posed intervenor had a significantly protecta-      zations.
             ble interest in the civil rights action because
                                                                   The Seventh Circuit has also found an
             the district court's restriction on the state
                                                                 organization's general lobbying interest in a
             prison population would increase the local jail
                                                                 statute insufficient to justify intervention.
             population, giving the local government. a
                                                                 In Keith v. Daley, 764 F.2d 1265, 1269-70
             direct and substantial interest in the outcome
             of the suit. Grubbs, 870 F.2d at 346-7. Sim-        (7th Cir.), cert. denied, 474 U.S. 980, 106
             ilarly, in Jansen v. City of Cincinnati, 904        S.Ct. 383, 88 L.Ed.2d 336 (1985), physicians
             F.2d 336 (6th Cir.1990), black applicants and       sought to prohibit the state of Illinois from
             employees of a city's fire department sought        enforcing its statute regulating abortions.
             to intervene in a reverse discrimination law-       The Illinois Pro--Life Coalition, which lobbied
             suit challenging the department's use of a          extensively for the statute, moved to inter-
             quota system. This court noted that the             vene, citing its lobbying efforts and its will-
             proposed intervenors were parties to an ear-        ingness to intervene as sufficient interests to
             lier consent decree setting goals for minority      justify intervention. The Seventh Circuit,
             hiring. Thus, the court found that the pro-         however, denied its motion, finding that the
             posed intervenors had a significantly protect-      organization's history as a lobbyist was not
             able interest in the affirmative action chal-       an interest direct enough to warrant inter-
             lenged in the lawsuit, and were entitled to         vention. See also Wade v. Goldschmidt, 673
             intervene. Id. at 341-2. Such examples il-          F.2d 182 (7th Cir.1982).
             lustrate the appropriateness of intervention           The majority, however, seeks to adopt
             when one will be directly affected by the           Ninth Circuit case law holding that a public
             outcome of litigation.                              interest group has a sufficient interest in
                The Chamber of Commerce, by contrast,            litigation concerning legislation if the group
             has no "direct" or "substantial" interest in        was involved in the process leading to adop-
             the litigation in this case. As a political         tion of the legislation. See, e.g., State of
             adversary of the unions, the Chamber of             Idaho v. Freeman, 625 F.2d 886 (9th Cir.
             Commerce acknowledgedly has a general in-           1980); Idaho Farm Bureau Fed'n v. Bab-
             terest in restricting unions' political expendi-    bitt, 58 F.3d 1392, 1397 (9th Cir.1995); Sa-
             tures. This broad interest, however, is not         gebrush Rebellion, Inc. v. Watt, 713 F.2d
             the same type of direct interest described in       525, 527 (9th Cir.1983). The distinction be-
             Grubbs and Jansen. The Eleventh Circuit             tween this case and those cases, however, is
             made this distinction in Athens Lumber Co.,         critical. The majority fails to recognize that
             Inc. v. Fed. Election Comrn'n, 690 F.2d 1364        the directness and substantiality of the pro-
             (11th Cir.1982), in which it denied interven-       posed intervenor's goal with respect to the
             tion under circumstances similar to those in        specific litigation at hand is the relevant in-
             this case. In Athens Lumber, a labor union          quiry, whereas indirect and futuristic policy
             that sought to intervene in a corporation's         goals do not warrant intervention. In Free-
             challenge to federal election laws alleged, as      man, for example, the National Organiza-
             the Chamber of Commerce does here, that it          tion for Women was allowed to intervene in
             would lose political strength if the court lift-    a suit challenging the procedures for ratifi-
             ed federal restrictions on corporate political      cation of the proposed Equal Rights
             expenditures. The court of appeals, howev-          Amendment to the United States Constitu-
             er, found the union's interest too indirect to      tion. This litigation, which directly and tre-
             warrant intervention, observing that the un-        mendously affected the rights of women,
Case 2:12-md-02311-SFC-RSW ECF No. 2060-14 filed 06/18/20                                PageID.37998       Page 17
                                    of 18
                                 MICHIGAN STATE AFL-CIO v. MILLER                                 1255
                                             Cite as 103 F.3d 1240 (6th Cir. 1997)
         justified the organization's intervention. In   Id. As the majority points out, Turner add-
         Idaho Farm Bureau Fed'n, the proposed           ed that "the principal inquiry in determining
         intervenor, a conservation group, had been      content-neutrality ... is whether the gov-
         involved in the process listing a certain snail ernment has adopted a regulation of speech
         as an endangered species, so the court al-      because of [agreement or] disagreement
         lowed it to intervene in an action challeng-    with the message it conveys." Id. (citing
         ing the validity of the endangered species      Ward v. Rock Against Racism, 491 U.S. 781,
         listing. The litigation directly and immedi-    791, 109 S.Ct. 2746, 2754, 105 L.Ed.2d 661
         ately threatened the group's position on a      (1989)). In response to this inquiry, the
         specific issue with which the group had         majority concludes that Mich. Comp. Laws
         been involved. Finally, in Sagebrush Rebel-     § 169.255(6), requiring annual affirmative
         lion, the court allowed the National Audu-      consent for political contributions, "gives rise
         bon Society to intervene in a suit challeng-    to no inference of legislative hostility toward
                                                         any particular speaker" because it applies
         ing the federal government's creation of a
                                                         "evenhandedly to the Chamber and to plain-
         conservation area because an adverse deci-
                                                         tiffs alike." This reasoning, however, ig-
         sion would have directly impaired the Soci-
                                                         nores the statute's clear application only to
         ety's interest in preserving birds and their
                                                         poll.tical contributions. A regulation does
         habitats. Ail of these cases involved the
                                                         not have to be directed at a particular
         intervenors' attempts to achieve specific,      speaker, but can be directed at a particular
         identifiable goals. By· contrast, the Cham-     topic of speech, in order to be content-based.
         ber in this case seeks only to weaken the
                                                            Although the majority half-heartedly ac-
         general political power of labor unions, with-
                                                         knowledges this point, it then concludes that
         out identifying a specific interest of the
                                                         "[n]othing in the statute evinces a hostility to
         Chamber that will be impaired if the statute    political speech .... " However, by requiring
         is invalidated. Because I find the Cham-        annual affirmative consent for political con-
         ber's interest too remote to justify interven-  tributions only, the statute disfavors organi-
         tion, either mandatory or permissive, I must    zational efforts to gather political contribu-
         dissent from my colleagues' decision in that    tions. The statute displays a unique concern
         regard.                                         for the voluntariness of political contribu-
            I must also disagree with the majority's tions, but does not similarly concern itself
         conclusion that Mich. Comp. Laws with the voluntariness of other contributions.
         § 169.255(6) is a content-neutral statute re-
                                                         Although we may well agree that the assur-
         quiring only intermediate scrutiny. The ma- ance of the voluntariness of contributions is a
                                                         worthwhile effort, and while the voluntari-
         jority accurately describes the difference be-
                                                         ness of political contributions in particular
         tween content-based and content-neutral
                                                         may drive the quest for reform, our approval
         regulations by citing Turner Broadcasting
                                                         or disapproval of legislative intent should not
         Sys., Inc. v. Federal Communications
                                                         color our determination of whether a statute
         Comm'n, 512 U.S. 622, 642-43, 114. S.Qt.
                                                         is content-based or content-neutral. The
         2445, 2459, 129 L.Ed.2d 497 (1994). Turner
                                                         Michigan legislature's decision to protect
         stated that
                                                         only the voluntariness of political contribu-
           [o]ur precedents . . . apply the most exact- tions, rather than all types of contributions,
           ing scrutiny to regulations that suppress, makes. this statute clearly content-based, and
           disadvantage, or impose differential bur- consequently, subject to "the most exacting
                                     1
                                         ·


           dens upon speech because of its con- scrutiny."
           tent. . . . In contrast, regulations that are    I also find troubling the majority's ready
           unrelated to the content of speech are dismissal of our constitutional analysis in
           subject to an .intermediate level of scruti- Kentucky Educators Pub. Affairs Council v.
           ny, ... because in most cases they pose a. Ky. Registry of Election Fin., 677 F.2d 1125
           less substantial risk of excising certain (6th Cir.l982)("KEPAC"). KEPAC con-
           ideas or viewpoints from the public dia- cerned a Kentucky statute that prohibited
           logue.                                        the use of coercion in obtaining political con-
Case 2:12-md-02311-SFC-RSW ECF No. 2060-14 filed 06/18/20 PageID.37999                                           Page 18
                                     of 18
              1256         103 FEDERAL  REPORTER, 3d SERIES

             tributions from state employees. The state        making political expenditures unrelated to
             teachers' political action committee had in-      the corporation's business. The court then
             stituted a "reverse check-off' system for col-    distinguished Bellotti from case law protect-
             lecting contributions, and the Kentucky           ing dissenters' rights not to contribute un-
             Registry of Election Finance challenged the       willingly to political candidates. After the
             system as violative of the Kentucky law.          court had explained that the challenged re-
             Although most of the court's analysis fo-         verse check-off system was not coercive un-
             cused on whether the reverse check-off sys-       der Kentucky law, the court engaged in this
             tem violated Kentucky law, the majority un-       discussion of the First Amendment rights of
             derstates KEPAC 's significance when it           corporations to express controversial views.
             finds that the KEPAC court made only "a           This analysis clarifies the court's view that
             cryptic reference to the constitutional issue."   the First Amendment allows organizations to
               The KEPAC court held that:                      express their political views as long as suffi-
                                                               cient protections remain for dissenting mem-
               The district court did not err in finding
                                                               bers. KEPAC 's .discussion and its holding
               that there was no substantial evidence to
                                                               deserve deference.
               support the findings of fact, conclusions of
               law, and order of the Kentucky Registry of         In light of the fact that strict scrutiny is
               Election   Finance   [finding the    reverse    the appropriate standard for reviewing the
                check-off system violative of Kentucky         constitutionality of the Michigan statute, we
                law], and in finding that the Registry had     should ask whether the state had a compel-
                applied [the Kentucky statute] in a man-       ling state interest. Although the Secretary
                ner that violated KEPAC's First Amend-         claims that the legislation is justified by
                ment rights to collect money for political     Michigan's desire to ensure the voluntariness
                purposes by use of a reverse check-off sys-    of political contributions, it has presented no
                tem.                                           evidence that contributions are cµrrently in-
             677 F.2d at 1133 (emphasis added). The            voluntary. KEPAC requires some evidence
             majority minimizes the constitutional dimen-      in order to impair a union's First Amend-
                                                               ment rights. At this stage of the litigation,
             sion of the KEPAC court's analysis, which
                                                               the Secretary's failure to present evidence
             explained its conclusion that the reverse
                                                               sufficient to warrant the ban on the union's
             check-off could not be banned under the
                                                               reverse check-off procedure suggests that
             First Amendment. The KEPAC court dis-
                                                               the unions have a strong likelihood of success
             cussed the United States Supreme Court's
                                                               on the merits. The other considerations in
             decision in Consolidated Edison Co. of New
                                                               our review of preliminary injunctions also
             York v. Pub. Serv. Comm'n of New York, 447
                                                               weigh in favor of upholding the injunction.
             U.S. 530, 100 S.Ct. 2326, 65 .L.Ed.2d 319
                                                               The unions will suffer irreparable harm with-
             (1980), holding that a state agency could not
                                                               out an injunction; no evidence exists that the
             prevent a utility company from including in
                                                               injunction will harm others; and finally, the
             its bills insertions about the company's posi-
                                                               injunction serves the public interest in pro-
             tion on controversial public policy issues.
                                                               tecting political speech.
             Furthermore, the court cited Central Hud-
             son Gas & Elec. Corp. v. Pub. Serv. Comm 'n         Based on this reasoning, I must dissent
             of New York, 447 U.S. 557, 100 S.Ct. 2343, 65     both from the majority's conclusion that the
             L.Ed.2d 341 (1980), in which the Supreme          Chamber of Commerce is entitled to inter-
             Court forbade, as violative of the First          vene in this suit, and from its decision to
             Amendment, a state agency's ban on a utility      reverse the preliminary injunction.
             company's promotion of electricity during a
             fuel shortage. KEPAC also discussed First
             Nat'l Bank of Boston v. Bellotti,, 435 U.S.
             765, 769, 98 S.Ct. 1407, 1412, 55 L.Ed.2d 707
             (1978), in which the Supreme Court struck
             down on First Amendment grounds a state
             statute that disallowed corporations from
